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3/19/2019                                                                 Welcome To EFTPS - Payments

  TAXPAYER NAME:           PRIMARY PROVIDERS OF ALABAMA INC                                                                            TIN:       xxxxx9960



  Payment History

  Your 90 Day payment history is displayed at the bottom of this page.




                                                                         PLEASE NOTE


                             Only payments or scheduled transactions made through EFTPS will be reflected in the payment history. No
                                                               IRS adjustments will be displayed.

                                     There may also be a delay before EFTPS payments are available in the official IRS records.




  Search Results

         Settlement Date              Initiation Date         Tax Form               Tax                                    Amount              Status
                                                                                    Period
    EFT Acknowledgment Number:            270947482024157
            2019-03-15                2019-03-13               941               2019/Q1                                7,255.90              Settled
    EFT Acknowledgment Number:            270947491575583
            2019-03-15                2019-03-14               941               2019/Q1                                  114.58              Settled
    EFT Acknowledgment Number:            270945995039030
            2019-02-28                2019-02-26               941               2019/Q1                                7,670.16              Settled
    EFT Acknowledgment Number:            270945034246325
            2019-02-19                2019-02-15               941               2019/Q1                                3,759.70              Settled
    EFT Acknowledgment Number:            270943253713763
            2019-02-01                2019-01-30               941               2019/Q1                                  141.90              Settled
    EFT Acknowledgment Number:            270943254820249
            2019-02-01                2019-01-30               941               2019/Q1                                4,643.36              Settled
    EFT Acknowledgment Number:            270943131474550
            2019-01-31                2019-01-30               940                 2018                                   918.80              Settled
    EFT Acknowledgment Number:            270941763879472
            2019-01-17                2019-01-15               941               2019/Q1                                5,714.41              Settled
    EFT Acknowledgment Number:            270940440684841
            2019-01-04                2019-01-03               941               2019/Q1                                5,288.30              Settled
    EFT Acknowledgment Number:            270875510260212
            2018-12-21                2018-12-18               941               2018/Q4                                4,235.04              Settled




https://www.eftps.gov/eftps/payments/history/download?view=printerFriendly
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3:28 PM                                 Allman Family Medicine, P.C.
03/19/19                                        Profit & Loss
Accrual Basis                                         February 2019

                                                                        Feb 19
                       Ordinary Income/Expense
                           Income
                             Cash/Check Patient payments                       2,520.19
                             Credit Card Patient payments                      7,867.73
                             Provider payments                                53,659.77
                             Refunds                                           2,117.84

                           Total Income                                       66,165.53

                         Gross Profit                                         66,165.53

                           Expense
                             Administrative Costs
                               Bank Service Charges                      931.48
                               Professional Fees                          30.00
                               Telephone Expense                         855.25

                             Total Administrative Costs                          1,816.73

                             Facilities Costs
                               Janitorial Expense                         180.50
                               Rent Expense                             3,138.11
                               Utilities                                  190.98

                             Total Facilities Costs                              3,509.59

                             General Overhead
                               Meals and Entertainment                    84.61

                             Total General Overhead                                84.61

                             Operating Costs
                               Billing Fees                             4,209.77
                               CC Trans Fee                               182.83
                               Imaging Fees                             1,204.00
                               Medical Supplies                         8,729.27
                               Office Supplies                          1,136.20
                               Postal                                      18.61

                             Total Operating Costs                            15,480.68

                             Personnel Costs
                               Employee Health Benefits                   106.88
                               Payroll Expenses                            33.25
                               Payroll Taxes                            3,310.22
                               Salary & Wages                          30,115.48

                             Total Personnel Costs                            33,565.83

                             Physician Compensation
                               Physician Salary                         9,600.00

                             Total Physician Compensation                        9,600.00

                             Physician Costs
                               Dry Cleaning                               59.25

                             Total Physician Costs                                 59.25

                           Total Expense                                      64,116.69

                       Net Ordinary Income                                       2,048.84

                       Other Income/Expense
                         Other Expense
                           Interest Expense                                         -4.99

                         Total Other Expense                                        -4.99

                       Net Other Income                                              4.99


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03/19/19                                   Profit & Loss
Accrual Basis                                February 2019

                                                                    Feb 19
                      Net Income                                             2,053.83




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4:01 PM                                 Allman Family Medicine, P.C.
03/19/19                                            Balance Sheet
Accrual Basis                                   As of February 28, 2019

                                                                          Feb 28, 19
                      ASSETS
                        Current Assets
                          Checking/Savings
                            Business Checking Account                                  2.22
                            Merchant Checking                                          1.88
                            PNC Business Checking                                  4,963.39
                            PNC Business MM                                        4,214.88
                            PPOA Biz Checking                                       -718.56
                            PPOA Money Market                                        119.52

                          Total Checking/Savings                                   8,583.33

                          Other Current Assets
                            Due from Shareholder                                  74,949.39
                            Petty Cash Drawer                                        643.00
                            PREPAID Payroll Tax                                    5,754.72

                          Total Other Current Assets                              81,347.11

                        Total Current Assets                                      89,930.44

                        Fixed Assets
                          Accumulated Depreciation                              -268,461.34
                          Computer Equipment                                      41,790.80
                          Furniture and Equipment                                 39,462.10
                          Leasehold Improvements                                 166,217.17
                          Loan Closing Costs                                       2,539.50
                          Medical Equipment                                       45,644.23

                        Total Fixed Assets                                        27,192.46

                        Other Assets
                          Accumulated Amortization                                -4,653.44
                          Goodwill                                                50,000.00
                          Security Deposits Asset                                 32,477.00

                        Total Other Assets                                        77,823.56

                      TOTAL ASSETS                                              194,946.46

                      LIABILITIES & EQUITY
                        Liabilities
                          Current Liabilities
                             Accounts Payable
                                 Accounts Payable                               281,058.12

                            Total Accounts Payable                              281,058.12

                            Other Current Liabilities
                              Current Maturities                                 19,281.66
                              LOC banc 2016 payment/draw                        329,074.60
                              LOC construction AFM 2014                          54,011.83
                              Payroll Liabilities
                                Christmas Club                                  80.00
                                FICA Payable                                 2,584.46
                                FUTA Payable                                   314.98
                                FWH Payable                                 -1,669.05
                                IRA Payable                                  1,886.16
                                SUI Payable                                    676.89
                                SWH Payable                                  1,409.54

                               Total Payroll Liabilities                           5,282.98

                               TSA 2018                                           86,800.00

                            Total Other Current Liabilities                     494,451.07

                          Total Current Liabilities                             775,509.19

                          Long Term Liabilities

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03/19/19                                         Balance Sheet
Accrual Basis                                   As of February 28, 2019

                                                                           Feb 28, 19
                             Less Current Maturities                              -19,281.66
                             Term Loan Banc 2016 purchse HFM                       67,281.23

                          Total Long Term Liabilities                             47,999.57

                        Total Liabilities                                        823,508.76

                        Equity
                          Capital Stock                                             1,000.00
                          Retained Earnings                                      -613,801.03
                          Net Income                                              -15,761.27

                        Total Equity                                             -628,562.30

                      TOTAL LIABILITIES & EQUITY                                 194,946.46




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03/19/19
                                            Unpaid Bills Detail
                                              As of March 1, 2019
                                                    Type      Date          Num       Due Date     Aging

    Merck
                                             Bill           10/31/2018   7012411513   11/10/2018     111
    Total Merck
    MMcKesson Surgical
                                             Bill           02/01/2019   46287114     02/11/2019      18
                                             Bill           02/01/2019   46287207     02/11/2019      18
                                             Bill           02/01/2019   46887702     02/11/2019      18
                                             Bill           02/04/2019   43607244     02/14/2019      15
                                             Bill           02/04/2019   43556427     02/14/2019      15
                                             Bill           02/04/2019   43589550     02/14/2019      15
                                             Bill           02/25/2019   48095675     03/07/2019
    Total MMcKesson Surgical
    mooremedical
                                             Bill           11/30/2018   83689011     12/10/2018      81
    Total mooremedical
    Pfizer
                                             Bill           01/02/2019   9325901612   01/12/2019      48
    Total Pfizer
    PNC Visa
                                             Bill           01/02/2019                01/12/2019      48
                                             Bill           01/04/2019                01/14/2019      46
                                             Bill           01/04/2019                01/14/2019      46
                                             Bill           01/05/2019                01/15/2019      45
                                             Bill           01/11/2019                01/21/2019      39
                                             Bill           01/16/2019                01/26/2019      34
                                             Bill           01/16/2019                01/26/2019      34
                                             Bill           01/16/2019                01/26/2019      34
                                             Bill           01/16/2019                01/26/2019      34
                                             Bill           01/22/2019                02/01/2019      28
                                             Bill           02/04/2019                02/14/2019      15
                                             Bill           02/04/2019                02/14/2019      15
                                             Bill           02/15/2019                02/25/2019       4
                                             Bill           02/16/2019                02/26/2019       3
                                             Bill           02/19/2019                03/01/2019
                                             Bill           02/21/2019                03/03/2019
                                             Bill           02/23/2019                03/05/2019
                                             Bill           02/25/2019                03/07/2019
    Total PNC Visa
    Teleradiology Specialists
                                             Bill           02/28/2019   23534        03/10/2019
    Total Teleradiology Specialists




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03/19/19
                                            Unpaid Bills Detail
                                               As of March 1, 2019
                                         Open Balance

    Merck
                                              2,226.78
    Total Merck                               2,226.78
    MMcKesson Surgical
                                              2,220.32
                                              1,971.73
                                              1,768.95
                                               818.98
                                               113.44
                                               408.94
                                               302.00
    Total MMcKesson Surgical                  7,604.36
    mooremedical
                                               361.01
    Total mooremedical                         361.01
    Pfizer
                                              1,764.62
    Total Pfizer                              1,764.62
    PNC Visa
                                                51.83
                                                45.76
                                                49.23
                                                31.98
                                                22.60
                                               300.00
                                               150.00
                                               610.38
                                                24.96
                                                52.95
                                                44.26
                                               736.40
                                                59.25
                                                40.35
                                               169.00
                                                30.00
                                                47.94
                                               182.86
    Total PNC Visa                            2,649.75
    Teleradiology Specialists
                                               364.00
    Total Teleradiology Specialists            364.00




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